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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge William J. Martínez

  Civil Action No. 12-cv-01362-WJM-KMT

  TODD GATZA, and
  TAMARA ROSE UNSELL-GATZA

         Plaintiffs,

  v.

  CASTLE STAWIARSKI, LLC

         Defendant.


              ORDER DENYING MOTION FOR PRELIMINARY INJUNCTION
               AND MOTION FOR TEMPORARY RESTRAINING ORDER


         Plaintiffs initiated this action against Defendant on May 24, 2012, bringing two

  claims under the Fair Debt Collection Practices Act and one negligence claim based on

  Defendant’s attempt to collect a debt of $409,037.65 allegedly owed on Plaintiffs’

  mortgage. (ECF No. 1.) Plaintiffs challenge Defendant’s right and authorization to

  collect the debt on behalf of the mortgage lender, and demands proof of such

  authorization. At that time, Plaintiffs also filed a Motion for Preliminary Injunction,

  seeking to enjoin a “sale of the property . . . scheduled to occur on 7/11/2012.” (ECF

  No. 3.) In this Court’s May 25, 2012 Order on that Motion, the Court held that, to the

  extent the Motion could be construed as a motion for a temporary restraining order, the

  Motion was denied because the foreclosure sale would not take place for another month

  and a half. (ECF No. 4.) The Court also held that, to the extent the Motion could be
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  construed as a motion for a preliminary injunction, the Motion would be referred to the

  assigned U.S. Magistrate Judge for decision. (Id.) Defendant has filed a Response to

  the Motion for a Preliminary Injunction (ECF No. 13), and Plaintiffs declined to file the

  allowed Reply.

         On September 7, 2012, Plaintiffs filed a new Motion for Temporary Restraining

  Order. (ECF No. 17.) In that Motion, Plaintiffs seek to enjoin a “C.R.C.P. 120 Hearing

  on the 11th day of September 2012 in District Court, Las Animas County, Colorado

  12cv58, and to abate any further foreclosure proceedings . . . .” (Id. at 2.)

         After unreferring the pending Motion for Preliminary Injunction to the assigned

  U.S. Magistrate Judge (ECF No. 18), the Court now finds it appropriate to affirmatively

  resolve the pending Motion for Preliminary Injunction (ECF No. 3) and Motion for

  Temporary Restraining Order (ECF No. 18).1

         Both Motions seek to enjoin a foreclosure proceeding in state court. In response

  to the Motion for a Preliminary Injunction, Defendant argues, inter alia, that the

  Anti-Injunction Act, 28 U.S.C. § 2283, and Younger v. Harris, 401 U.S. 37 (1971),

  preclude this Court from enjoining an ongoing state foreclosure proceeding. (ECF No.

  13.) The Court agrees.

         The Anti-Injunction Act provides, “A court of the United States may not grant an

  injunction to stay proceedings in a State court except as expressly authorized by Act of



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          The Court declines at this time to resolve Defendant’s currently pending Motion
  to Dismiss. (ECF No. 12.)

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  Congress, or where necessary in aid of its jurisdiction, or to protect or effectuate its

  judgments.” 28 U.S.C. § 2283. As the Tenth Circuit has stated, “[t]his prohibition

  against enjoining ‘proceedings in a State Court' applies to state foreclosure

  proceedings.” Horton v. Clark, No. 90-5254, 1991 WL 240115, at *1 (10th Cir. Nov. 15,

  1991). Plaintiffs have not shown, and the Court does not find, that any of the three

  exceptions identified in 28 U.S.C. § 2283 apply in this case. Therefore, the Anti-

  Injunction Act prohibits this Court from enjoining the foreclosure proceedings in state

  court.

           Moreover, even if the Anti-Injunction Act did not apply, the Tenth Circuit has also

  recognized that a foreclosure proceeding is “precisely the type of case where federal

  courts out of concern of comity and the nature of our federal system properly refuse to

  exercise jurisdiction and intermeddle in the state court proceedings.” Id. (citing Mitchum

  v. Foster, 407 U.S. 225 (1972), and Harris v. Younger, 401 U.S. 37 (1971)). Under the

  Younger abstention doctrine,

           A federal court must abstain from exercising jurisdiction when: (1) there is
           an ongoing state criminal, civil, or administrative proceeding, (2) the state
           court provides an adequate forum to hear the claims raised in the federal
           complaint, and (3) the state proceedings involve important state interests,
           matters which traditionally look to state law for their resolution or implicate
           separately articulated state policies. Younger abstention is
           non-discretionary; it must be invoked once the three conditions are met,
           absent extraordinary circumstances.

  Amanatullah v. Colo. Bd. of Med. Exam'rs, 187 F.3d 1160, 1163 (10th Cir. 1999)

  (citation and quotation marks omitted).

           Here, the first Younger abstention element is met because Plaintiffs are asking

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  the Court to enjoin an ongoing proceeding in state court. Second, although Plaintiffs

  argue otherwise (see ECF No. 17, at 9), the Court finds that the state proceedings

  provide an adequate forum to hear the claims raised here. And third, foreclosure

  proceedings “are proceedings involving important state interests concerning title to real

  property located and determined by operation of state law.” Beeler Props. v. Lowe

  Enters. Residential Investors, 07-cv-00149, 2007 WL 1346591, at *1 (D. Colo. May 15,

  2007); see also Horton, 1991 WL 240115, at *1. Therefore, the Younger abstention

  doctrine also prevents this Court from enjoining the state court proceedings.

        In accordance with the foregoing, the Court hereby ORDERS as follows:

  (1)   Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 3) is DENIED;

  (2)   Plaintiffs’ Motion for a Temporary Restraining Order (ECF No. 17) is DENIED;

        and

  (3)   Plaintiffs are prohibited from filing any further emergency motions in this action

        seeking to enjoin the related foreclosure proceedings in state court.



        Dated this 10th day of September, 2012.

                                                  BY THE COURT:



                                                  _________________________
                                                  William J. Martínez
                                                  United States District Judge




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